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             EXHIBIT 8
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Score
                                         Thinking Out Loud


          ## 4
         & 4 Œ                      ‰        œ œ œ              œ n œj # œ       œ œ             œ œ œ œ
                                                                                                                           Ó
                                         Whenyour legs          don't work       like they   used to be - fore,


          ## 4 œ œ .                ¿¿
         & 4 œœ œ .                          œ           œ              ¿                        œœ              ¿¿ œœ œœ œœ œœ ( œ)
                                     ¿                                                            œ               ¿ œ œ œ Œ
                                             œ           œ              ¿




    ##
          Œ        ‰œ œ œ œ œ œ œ     Œ                                Ó                     Œ           ‰œ œ œ œ œ œ œ
3

&
                    3                            3                                                         3                              3


                                  œ œ                                                                                   œ
                   and I can't sweep you off of your feet,                                               will your mouth still re - mem - ber the



 #         .                                                                               .
& # œœœ œœ . ¿¿¿ œ œ                     ¿                   œœ ¿¿ œœ œœ œœŒ œœ (œ) œœœ œœ . ¿¿¿ œ                    œ              ¿
3




                 œ œ œ                   ¿                    œ ¿œ œœ                            œ                    œ œ            ¿




    ##                                                                                                                               œ œœ
                              Ó                      Œ       ‰ œ œ œ . œ œ n œj # œ .                                    ‰ Œ
6

&
               3                                                3


          œ œ œ œ                                                                                          œœ œ
         taste of my love,                                    will your eyes still               smile         your cheeks?         Dar - lin' I


    ##                                           .
                        ¿¿ œœ œœ œœŒ œœ ‰ œœœ œœ . ¿¿¿ œ                     œ       ¿                                ¿¿ œœ œœ œœ ¿¿
6

&         œœ                                                                                               œœ
           œ             ¿œ œœ                         œ                     œ       ¿                      œ          ¿œ œœ¿
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2                                                            Thinking Out Loud




                    œ Œ ‰œ œ œ œ œ œœ œ Œ Ó
0:24
   ## Œ ‰ j                                                                                                            r
         œ œ. œ œ œ                                                                                          Ó     ‰. œ œ œ œ
9

 &                       J
                    will       be lov - in' you       till      we're sev - en - ty,                                 and ba - by, my


   ## . #                                                                                                    2
     Guitar continue simile; add keys


                                                  Û. Û |
                   D

 & Û Û |
9            D                                    G   A

                                                                                                             «
                   F

           J                                         J
                                                                                                             2
 ? ##    ‰ j j                                      ‰ j
9


                                                  œ œ œ œ œ                                                  «
      œ œ œ œ ~. ~                                                               œ
9     x xxx x x x                           x x œx x x x x œx                    x        x œx x x x x œx x x œx x x x x œx      x
 ã       œ
      œ ‰œ ‰ œ Œ
                  œ
                                              œ ‰œ ‰ œ Œ                                  œ ‰œ‰œŒ œ ‰œ‰œ Œ
           J J                                       J   J                                       J J               J J




       ## Œ                                              œ œ œ œ œ œ œ.
                   ‰ œj           œ . œ œ œ œ Œ ‰ œJ œ œ                Ó
13

 &

       ##                                                    2                                                                     2
                       heart           could still feel as                  hard       at twen - ty three,
13

 &                                                           «                                                                     «
                                                             2
 ? ##                                                                                                          ‰ j j
13

                                                             «                                                   œ œ œ ~. ~
13                                                           2                                               œ              2
 ã                                                           «                                                              «
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                                                       Thinking Out Loud                                                            3




  ## ≈ œ œ œ œ œ œ ‰ œ . œ                                œ œ œ œ œ œj œ œ œ
                                                        0:48

                           œ                                                                          œ. œ œ œ œ œ ‰ Œ
16

&                                                                                                                J

     ##
               and I'm think - ing 'bout    how           peo - ple fall in    love in mys - te      -         ri - ous ways


                                                          |.                              Û           Û.               Û |
16                                                       E min                         G             A                  D

&
                                                                                                                       J
? ##                      ‰         j            ‰ j                                                              ‰ œ œœœ
                                   œ œ œ œ œ œ
16


           œ                                       œ œ   œ                                            œ             J
16                                           x x x x x x x x                                          x œx x x x x œx x
ã                                            œ
                                                 œ
                                                   œ   œ
                                                         œ
                                                 ‰ J ‰ J Œ                                            œ ‰ œ ‰œŒ
                                                                                                             J J




19
     # # œ œ œ œ œ œ œ œœj œ                       œ Œ Œ ‰. r œ œ œ œ œ œœ œ œ œ œ œ œ œ œ‰ ‰. œ
&                                                          œ                             J R
     ##
           may - be just the touch of a    hand,                well    me I fall in love withyou ev - ry sin - gle day,       and


           |.                          Û                                 |.                     Û          Û.         Û |
19        E min                      G             A                   E min                   G       A          B min

&                                                  |
                                                                                                                      J
? ##                 ‰ j                               j
                                                   œ ‰œ œœœ                ‰ j                                      ‰ œj œœœ ~~
19



           œ           œ œ             œ                                 œ   œ œ                œ          œ                   ~~
19                                             2                                                     2
ã                                              «                                                     «
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4                                                            Thinking Out Loud




     ## œ œ œ œ œ œ œ œ œ
                                                                                                1:13
                                                         ˙             ≈ œ œ œ œ œœœ œ œœŒ                        Ó
23

&
                                                                                                             #
                                                                                            3

 # # E min.
          I         wan - na     tell you   I   am                       so hon - ey now,

                                                                                                  Û.
                                                                                                            D

                                            Û            Û Û Û Û Û                  Œ                        Û |
23                                          G            A                                       D

& |
                                                                                                            F

                                                                                                             J
? ##           ‰ j                                                                  Œ                     ‰ j j
23



          œ       œ œ    œ                               œ œ œ œ œ                                œ         œ œ œ ~. ~
          x œx x x x x œx x                                                                       x œx x x x x œx x
                                                                                    Œ
23

ã         œ    ‰ œJ ‰ œJ Œ                               œ œ œ œ œ                                œ    ‰ œJ ‰ œJ Œ




     ## Œ            r    œ œ œ œ œœœ œ œ                        œ ‰ Œ Ó                    œ œ œ œœ œ œœ
                ≈   œ
                                                                 J                      Œ ≈
26

&
                                      3                                                                      3            3


     # # GÛ .                                                                      2
                         take me in - to your lov - in' arms,                                   kiss me un - der the light of a

                            Û |
26                           A

&                                                                                  «
                            J
                                                                                   2
? ##            ‰            j
26


          œ                 œ œ œ                                                  «
                                  œ                  œ
26
          x œx x            x x x œx                 x                             2
ã         œ ‰               œ ‰ œ Œ                                                «
                            J   J
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                                                      Thinking Out Loud                                                          5




     ## œ         œ œ œ                              œ œ œ            œ œ œ œ œ. œ œ
                     œ  Œ             Œ ≈                                          J ‰ Œ Œ ≈œ œ œ
29

&
                                                                  3


     ##                               2                                                                                      2
          thou - sand stars,                    placeyour head        onmy beat - ing heart,                   I'm think - ing
29

&                                     «                                                                                      «
                                      2                                                                                      2
? ##
29

                                      «                                                                                      «
29                                    2                                                                                      2
ã                                     «                                                                                      «




  # # # œr œ n œ œ œ œ œ   œ œ‰ œ ‰ œ                                     œ ‰ œ ‰ œ. œ œ œ Ó
                       J ‰      J
32

&

     ##
               out             loud       may - be      we       found
                                                                                  #
                                                                          love right         where   we are.

                                                         Û        Û       Û        Û           Û     Û Û |
32                                                     B min       A      G    F min       E min     A D

&

? ##
32

                                                         œ        œ       œ       œ                  œ œ ˙
                                                                                               œ
                                                                                               Ó.
32

ã                                                        œ        œ       œ       œ            œ     œ œ ‰ œ œœ
                                                                                                           J
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6                                                          Thinking Out Loud




1:43
       ## Œ ‰
                     œ œ œ œ œ œ œ œ œ œ                                 Ó         Œ≈ œ œ œ œ œ œ
35

 &
                                                                                                                      3


                                      œ                                                                               œ œ
                                                                                      œ
   # # Û . Û#                                                                                                              2
                    When my hair's all gone and my mem - o - ry fades,               and the crowds don't re - mem - ber my

                                                       Û.
                     D

                                                                     Û |
35          D                                       G              A

 &                              |                                                                                          «
                    F

              J                                                      J
                                                                                                                           2
 ? ## ‰ j                        j                                ‰ œj œ œ
35


                                œ œ ~. ~               œ                                                                   «
       œ œ                                                                  œœ
35
       x œx x x                 x x œx x               x œx       x x x x œx x                                             2
 ã     œ ‰œ                     ‰ œJ Œ                 œ          ‰ œJ ‰ œJ Œ                                              «
              J




  #                                 Œ ≈ œ œ œ œ. œ œ œ
 & # œ Œ Ó
38


                                                                                œ œ œœœ œ œ œ œ œ                    œ
38
       ##
            name,                          whenmy     hands                    don't
                                                                                       2play   the string the same   way


 &                                                                                     «
                                                                                       2
 ? ##
38

                                                                                       «
38                                                                                     2
 ã                                                                                     «
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                                                       Thinking Out Loud                                                        7




                                                                                         2:07
     ## Œ ‰                                         r                          œ œ
              œ œ            œ .œ œ œ .       ‰ ‰ .œ œ                                     Œ ‰ œj œ . œ œ œ œ
41

&                                       œ œ œ
     ##                                        2                                              #
              I know         youstill will love    me the    same.       hon - ey your          soul    your could nev - er grow

                                                                                            .
                                                                                                 D

                                                                                           Û Û |
41                                                                                        D

&                                              «
                                                                                                F

                                                                                              J
                                               2
? ##                                                                                         ‰ j j
41

                                               «
                                                                                           œ œ œ œ ~. ~
                                               2                                           x œx x x      x x        œx      x
41

ã                                              «                                           œ ‰œ          ‰ œJ       Œ
                                                                                                  J




     ## Œ               œ                                                                                  r
               ‰ œJ œ œ œ œ œ œ                                  Œ   Ó               Ó                 ‰. œ œ œ œ
44

&

     ## Û .
                       old         it's   ev - er - green,
                                                                              2                            and ba - by your

                 Û |
44        G            A

&                                                                             «
                 J
                                                                              2
? ##           ‰ œj œ œ
44


          œ                                                                   «
44
                                          œ       œ                           2
ã                            ‘                                                «
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8                                                        Thinking Out Loud




     ##              j           œ œ                              œ œ œ œ œ œ œ œ. œ œ .
          Œ       ‰ œ œ. œ œ œ œ                                                       ∑
47

&
                                                         2                                                               2
                                                                                             3


     ##
                        smile's       for - ev - er in            my   mind      and mem - o - ry
47

&                                                        «                                                               «
                                                         2
? ##                                                                                                       ‰ j j
47

                                                         «                                                   œ œ œ ~. ~
47                                                       2                                               œ              2
ã                                                        «                                                              «




                                            . œ œ œ.         œ œ œ œ œ œ œ œ
                                                         2:32
  ## ‰ œ œ œ œ ‰ œ                                                                                  œ. œ œ œ œ œ ‰ ‰. r
       J
50

&                                                                                                              J      œ

     ##
              I'm think - ing 'bout       how             peo - ple fall in   love in mys - te      -    ri - ous ways


                                                             |.                         Û           Û.           Û |
50                                                       E min                        G             A             D

&
                                                                                                                 J
? ##                ‰          j             ‰ j                                                            ‰ œ œœœ
                              œ œ œ œ œ œ
50


          œ                                     œ œ    œ                                            œ         J
50
                                        x œx x x x x œx x
ã                                                                                                                 ‘
                                        œ    ‰ œJ ‰ œJ Œ
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                                                        Thinking Out Loud                                                               9




  ## œ œ œ œ œ œ œ œ œ œ œ . œ œ œ œ          r œ œ œ œ œ œ œ œ
                                                       r
                                                                œ œœ
                                     œ œ ‰ .
53

&                                            œ
                                                              3

 #
         may - be it's all     part of a plan,                              well    I'll just keep on    mak - ing   the         same


& # |.                                 Û                                             |.                                  Û
53      E min                          G           A                               E min                             G

                                                    |
? ##               ‰ j                                  j   œ
                                                    œ ‰œ œœ                                   ‰     j
53



          œ          œ œ               œ                                             œ             œ œ                   œ
53                                               2                                                                                      2
ã                                                «                                                                                      «




  ## œ . œ œ œ . œœ ‰ Œ                     œ œ œ œ œ œ œ #œ œ                           ˙          ‰.
                                                                                                                rœ œ œ
                                                                                                               œ
56

&                 J
                                                                                                                             3


     # # AÛ .
                 mis - takes                hop - ing that you'll un - der - stand                            that ba - by now

                    Û |           |.            Û                                        ÛÛ ÛÛÛ                      Œ
56                  B min                  E min                          G              A

&
                    J
? ##              ‰ œj œ œ œ ~~       ‰ j                                                                            Œ
56


          œ                    ~~ œ +    œ +œ œ +                                        œ œ œ œ œ
                                  x x       x     x
                                                                                                                     Œ
56

ã                                     œ         œ
                                  œ   ‰ œJ ‰ œJ œ                                        œ œ œ œ œ
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10                                                  Thinking Out Loud




                                                               œ œ œ œ œ œ œ œ œ œ
2:56
   ## œ œ œ .
            Ó                                  Œ          ≈                      J ‰ Œ                                  Ó
59

 &
                                                                             3


                       #                                                                                                            2
       Add organ & "gospel" choir

       ## Û .
                                                              take me in - to your lov - in' arms,

                                               Û.
                      D

                       Û |                                       Û
59        D                                    G                  A

 &                                                                      |                                                           «
                      F

                       J                                         J
                                                                                                                                    2
 ? ##            ‰ j j             ‰                               j                 œ
59


                    œ œ  œ ~
                           .   œ                                 œ      œ        œ           œ                                      «
            œ                ~                                                                                                      2
59
            x œx x x x x œx x x œx x                             x      x        x   œx      x
 ã          œ    ‰ œJ ‰ œJ Œ   œ   ‰                             œ      ‰        œ   Œ                                              «
                                                                 J               J




62
       ## Œ ≈ œ œ œ               œœ œ œ œ œ œ œœ œ
                                                    Œ Œ ≈
                                                          œœ œ                                             œœ œ œ œ œ
 &
                              3            3                                                           3

62
       ##
                  kissme un - derthe light of a thou - sand stars,
                                                                            2         placeyour head       onmy beat - ing heart,


 &                                                                          «
                                                                            2
 ? ##
62

                                                                            «
62                                                                          2
 ã                                                                          «
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                                                  Thinking Out Loud                                                             11




  ## œ
     J ‰ Œ ‰ . œ œ œ œ œ œ œ.                                     œ ‰ . œr œ œ ‰ œJ ‰ œ œ ‰ œj ‰
65

&              R                                                  J                     J
                                                       2                                                    #
                                       3


     ##
                            I'm think - ing out                   loud    and may - be     we found love right

                                                                                             Û          Û Û Û
65                                                                                        B min A   G F min

&                                                      «
                                                       2
? ##
65

                                                       «                                     œ          œ œ               œ
65                                                     2
ã                                                      «                                     œ          œ œ               œ




                              3:26
68
     ## œ         œœ Ó                     ∑                ∑            Ó Œ ‰ œ œ œ œ œ œ œœ œ œœ œ œ
                                                                                                                     3

&
                                                                                     2
                                                                                3

                                    #
                                 Guitar solo                                                 3

     ## Û
            where we are.                                                      La, la,   la, la, la, la, 3la,la, la, la,la, la, la.

                                 Û. Û |      Û. Û |
                                     D

                  ÛÛ |
68        E min   A D            D                 G    A

&                                                                                    «
                                     F

                                    J               J
                                                                                     2
? ##                             ‰  j j           ‰  j
68



           œ      œ œ ˙ œ œ œ œ ~. œ œ œœ œ                                          «
                                          ~              œ
                                                                                     2
           Ó.               x œx xx x x œx x x œx xx x x œx x
68

ã          œ
                          œ
                  œ œ ‰ œœ œ ‰ œ ‰ œ Œ œ ‰ œ ‰ œ Œ                                   «
                        J          J J              J J
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12                                           Thinking Out Loud




       ##                                                                                         r    œ
            œ Œ Ó                   ∑                    ∑                  Ó                 ‰. œ œ œ
73

 &
         ~~




  #                         2                         #
                                                                                                So bab - by now


 & #                                         Û.
                                                     D

                                                      Û |                   Û Û Û Û Û Û             Û       Û
73                                           D                             G              A

                            «
                                                     F

                                                      J
                            2
 ? ##                                        œ + ‰ j
73

                            «                      œ +œ œ œ +œ œ œ œ œ œ œ                          œ       œ
73                          2                x x      x œ x x x x x x x                             x       x
 ã                          «                    œ
                                             œ ‰ œ ‰ œ œ œ œ œ œ œ œ œ                              œ       œ
                                                   J




                                                    œ œ œ œ œ œ œ œ œ œ. œ œ œ
3:50
77
       ## œ œ œ œ œ        Ó            Œ         ≈                                                     Ó
 &
                                                                 3


       # # DÛ .        #
                                                   take me in - to your lov - in' arms,
                                                                                                                  2
                                        Û.
                       D

                       Û |                          Û |
77                                      G              A

 &                                                                                                                «
                       F

                       J                            J
                                                                                                                  2
 ? ##                ‰ j j                        ‰ œj œ œ
77


                       œ œ œ ~. ~       œ                                                                         «
            œ                                                             œ       œ
            x                                                                                                     2
                  œx x xœ x xœ œx x xœ œx x xœ               x x          œx      x
77

 ã                                                                                                                «
            œ        ‰ J ‰ J Œ            ‰ J                ‰ œJ         Œ
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                                                     Thinking Out Loud                                                                13




     ##        œ œ œ œ œ œ œ œ œ œ œ œ œ œ œ œœ                                            œœ œ              œœ œ œ œ œ
          Œ≈                            ≈       ≈
80

&
                           3              3                                                              3


 #                                                                          2
               kissme un - derthe light of a thou - sand stars,        Oh dar - lin       place
                                                                                             your head       onmy beat - ing heart,


& #
80

                                                                            «
                                                                            2
? ##
80

                                                                            «
80                                                                          2
ã                                                                           «




                                                                                                      4:15
  ## œ œ Œ
        œ                  ‰ . œR œ œ œ œ œ œ .                              œ ‰ . œr œ œ ‰ œJ ‰ œ œ ‰ œj ‰
83

&                                                                            J                     J
                                                                                                                     #
                                              3


     ## Û .          #
                               I'm think - ing out                           loud     and may - be     we found love right
                    D

                     Û |                                          ÛÛ      ÛÛÛÛ             Û         Û Û         Û Û Û
83        D                                                       G          A                        B min A   G F min

&
                    F

                     J
? ## œ        ‰ j
83


                                                                  œœ      œœœœ             œ         œ œ         œ œ
            + œ +œ œ                 œ               œ
                                                     +
                                                                                                                               œ
83        x x     x                                  x            xx      xxxx             x         x
ã             œ
          œ ‰œ ‰œ                    œœ              œ            œœ      œœœœ             œ         œ œ         œ œ           œ
                J
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14                                                  Thinking Out Loud




     ## œ                             r               œ œ œ       œ                      œ œ œ. œ .
                   œ œ ‰.             œœœ‰            J ‰   ‰ œ ‰                                œ œœ œ
86

&

 #                                                                               2
         where     we     are.       and Ba - by     we     found   love right   where   we   are,                   and


& # Û              Û Û |
86     E min       A      D

                                                                                 «
? ##
86


                   œ        œ œ                       œ      œ œ                         œ
         œ           œ +œ œ                                                 œ     œ        œ +œ          œ       œœœœ
         Ó              x   Œ                                                     Ó           x                  Œ
86

ã        œ         œ œ ‰ œ œ                          œ      œ œ            œ     œ      œ œ ‰           œ       œ
                          J                                                                              J




 ## œ ‰ œ                        œ ‰ œ ‰                                                                         Ó
& J                                                            œ
89

                                                    œ                œ      œ         œ œ œ          ˙
     ## Û
        we        found      love
                                       #
                                      right         where     we     are.
                                                                            U
                   Û             Û      Û           Û          Û Û                                           ∑
89     B min        A        G       F min         E min      A      D

&                                                                           |
                                                                            U
? ## œ                                                                                                       ∑
89


                   œ             œ      œ           œ          œ
                                                                     œ       ˙
                             ∑                                              ∑                                ∑
89

ã
